                   Case 6:22-ap-01049-SY                 Doc 1 Filed 06/14/22 Entered 06/14/22 13:12:53     Desc
                                                         Main Document     Page 1 of 8


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                            Corporation, Assignee of Subchapter V Trustee
                        8
                                                             UNITED STATES BANKRUPTCY COURT
                        9
                                            CENTRAL DISTRICT OF CALIFORNIA, RIVERSIDE DIVISION
                      10

                      11
                            In re                                               Case No. 6:20-bk-14155-SY
                      12
                            POWER BAIL BONDS, INC.,                             Chapter 11, Subchapter V
                      13
                                        Debtor.                                 COMPLAINT FOR:
                      14    _______________________________________
                                                                                1. AVOIDANCE OF PREFERENTIAL
                      15    LEXINGTON NATIONAL INSURANCE                           TRANSFERS AND RECOVERY OF
                            CORPORATION, a Florida corporation,                    SAME [11 U.S.C. §§ 547, 550];
                      16
                                                Plaintiff.                      2. PRESERVATION OF AVOIDED
                      17                                                           TRANSFERS [11 U.S.C. § 551];
                            v.
                      18                                                        3. DISALLOWANCE OF CLAIMS [11
                            BLUEVINE, INC.,                                        U.S.C. § 502(d)]
                      19    a Delaware Corporation,
                      20                         Defendant.
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 FRIEDMAN & BUI LLP                                                         1
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                        1             Lexington National Insurance Corporation, a Florida corporation (“Plaintiff”), as assignee

                        2   of Caroline R. Djang, the Subchapter V trustee (the “Trustee”) for the bankruptcy estate of Power

                        3   Bail Bonds, Inc. (“Debtor”), hereby brings this Complaint against BlueVine, Inc. (“Defendant”)

                        4   and respectfully complains and alleges as follows:

                        5                           I.    STATEMENT OF JURISDICTION AND VENUE

                        6             1.        This adversary proceeding is filed pursuant to Federal Rule of Bankruptcy

                        7   Procedure 7001(1) (a proceeding to recover money or property).

                        8             2.        Plaintiff, as assignee of the Subchapter V trustee in possession, has standing to

                        9   bring this action under 11 U.S.C. §§ 323, 547, 548, 550, and 551.

                      10              3.        This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§

                      11    157 and 1334 in that this proceeding arises in and is related to the bankruptcy case pending in the

                      12    United States Bankruptcy Court of the Central District of California, Riverside Division entitled

                      13    In re Power Bail Bonds, Inc., Case No. 6:20-bk-14155-SY on the Court’s docket.

                      14              4.        This action is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A) (matters

                      15    concerning the administration of the estate) and (b)(2)(F) (proceedings to determine, avoid, or

                      16    recover preferences). To the extent any related claims are determined not to be a core proceeding,

                      17    Plaintiff consents to an entry of final judgment and orders by the Bankruptcy Court.

                      18              5.        Venue is proper in this District pursuant to 28 U.S.C. § 1409(a), as this adversary

                      19    proceeding arises under Title 11, or arises under or relates to a case under Title 11, which is

                      20    pending in this District and does not involve a consumer debt less than $22,700.

                      21                                                II.     PARTIES

                      22              6.        The Debtor filed a Chapter 11, Subchapter V, bankruptcy petition on June 15, 2020

                      23    (“Petition Date”).

                      24              7.        The Trustee was appointed as the Subchapter V trustee on June 18, 2020.

                      25              8.        Pursuant to an order entered by this Court on October 23, 2020, the Debtor was

                      26    removed as debtor-in-possession and the Trustee was named as a Subchapter V Trustee-in-

                      27    Possession with all the rights and duties set forth in 11 U.S.C. § 1183(b)(5).

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                        1             9.        On June 14, 2022, this Court entered an order approving the assignment of the

                        2   Debtor’s bankruptcy estate’s (“Estate”) avoidance actions to Plaintiff, including but not limited to

                        3   all of the avoidance claims held by the Debtor’s Estate under Sections 544, 547, 548, 550 and 551

                        4   of the Bankruptcy Code. The Plaintiff brings the claims asserted herein in that capacity.

                        5             10.       Plaintiff is informed and believes and thereon alleges that Defendant is and was at

                        6   all relevant times herein a Delaware corporation authorized to do business in the State of

                        7   California, which conducted business with the Debtor prior to the Petition Date.

                        8                                      III.    GENERAL ALLEGATIONS

                        9             11.       The Debtor formerly conducted business as a bail bonds service and had been in

                      10    business since 2014. The Debtor ceased writing new bail bonds as of May 2020 but was otherwise

                      11    operating in the ordinary course of business post-petition, engaging in two areas: (1) claims, legal

                      12    and recovery and (2) collection of accounts receivable.

                      13              12.       Plaintiff is informed and believes and thereon alleges that at least as of June 1, 2019,

                      14    the Debtor’s financial condition was such that the sum of its debts was greater than all of its

                      15    property at fair valuation, and that it was therefore insolvent pursuant to 11 U.S.C. § 101(32)(A).

                      16    Plaintiff is informed and believes and thereon alleges that at least as of June 1, 2019, the Debtor’s

                      17    financial condition was such that it was unable to pay its debts as they came due in the ordinary

                      18    course of business, and that it was therefore insolvent.

                      19              13.       Plaintiff is informed and believes and thereon alleges that between March 17, 2020

                      20    and June 15, 2020 (“Preference Period”), many of the Debtor’s creditors contacted the Debtor and

                      21    demanded that their bills be paid.

                      22              14.       Plaintiff is informed and believes and thereon alleges that during the Preference

                      23    Period, the Debtor did not have sufficient funds to pay its debts as they became due, and fell behind

                      24    on its payments to creditors.

                      25              15.       Plaintiff is informed and believes and thereon alleges that during the Preference

                      26    Period, Defendant received transfers from the Debtor in the form of payments in the total amount

                      27    of $123,031.92 (“Preferential Transfers”).

                      28    ///
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                        1             16.       Plaintiff is informed and believes and thereon alleges that the Preferential Transfers

                        2   were made to or for the benefit of Defendant within ninety days of the Petition Date.

                        3             17.       Plaintiff is informed and believes and thereon alleges that the Preferential Transfers

                        4   satisfy the definition of “transfers” as that term is defined in 11 U.S.C. § 101(54).

                        5             18.       Plaintiff is informed and believes that yet additional transfers may have been made

                        6   to Defendant within the Insolvency Period or diverted from the Debtor for the benefit of Defendant.

                        7   Plaintiff specifically reserves the right to amend this Complaint to allege additional transfers which

                        8   may become known after further investigation and discovery is conducted.

                        9                                         FIRST CLAIM FOR RELIEF

                      10                                 Avoidance and Recovery of Preferential Transfers

                      11                                              [11 U.S.C. §§ 547, 550]

                      12              19.       Plaintiff hereby incorporates by reference paragraphs 1 through 18 and realleges

                      13    these paragraphs as though set forth in full.

                      14              20.       Plaintiff is informed and believes and based thereon alleges that within ninety (90)

                      15    days of the Petition Date, the Debtor made the above-referenced Preferential Transfers to

                      16    Defendant.

                      17              21.       Plaintiff is informed and believes and based thereon alleges that the Preferential

                      18    Transfers were made to or for the benefit of Defendant, a creditor of the Debtor.

                      19              22.       Plaintiff is informed and believes and based thereon alleges that the Preferential

                      20    Transfers were made for or on account of an antecedent debt owed by the Debtor before the

                      21    Preferential Transfers were made.

                      22              23.       Plaintiff is informed and believes and based thereon alleges that the Preferential

                      23    Transfers were made while the Debtor was insolvent, as that term is defined by 11 U.S.C. §

                      24    101(32).

                      25              24.       Plaintiff is informed and believes and based thereon alleges that the Preferential

                      26    Transfers enabled Defendant to receive more than it would have received as a creditor if: (a) the

                      27    Transfers had not been made; and (2) Defendant received payment of the debt it was owed to the

                      28    extent provided under Title 11 of the United States Code.
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                        1             25.       Plaintiff is informed and believes and based thereon alleges that interest on the

                        2   Preferential Transfers has accrued and continues to accrue at the maximum legal rate pursuant to

                        3   28 U.S.C. § 1961 from the time the Preferential Transfers were made.

                        4             26.       Based on the foregoing, Plaintiff may avoid the Preferential Transfers and recover

                        5   the equivalent value of said Transfers for the benefit of the Estate from Defendant, for whose

                        6   benefit the Preferential Transfers were made pursuant to 11 U.S.C. §§ 547 and 550.

                        7                                       SECOND CLAIM FOR RELIEF

                        8                                      Preservation of Avoided Transfers

                        9                                                [11 U.S.C. § 551]

                      10              27.       Plaintiff hereby incorporates by reference paragraphs 1 through 26 and realleges

                      11    these paragraphs as though set forth in full.

                      12              28.       Plaintiff is informed and believes that the Defendant received avoidable transfers

                      13    (e.g. Preferential Transfers).

                      14              29.       Pursuant to 11 U.S.C. § 551, the Preferential Transfers are preserved for the benefit

                      15    of the Estate.

                      16                                         THIRD CLAIM FOR RELIEF

                      17                                      Disallowance of Claims by Defendant

                      18                                               [11 U.S.C. § 502(d)]

                      19              30.       Plaintiff hereby incorporates by reference paragraphs 1 through 29 and realleges

                      20    these paragraphs as though set forth in full.

                      21              31.       Defendant is an entity from which property is recoverable under 11 U.S.C. § 550

                      22    and Defendant received an avoidable transfer under 11 U.S.C. § 547.

                      23              32.       Defendant has not paid the amount or turned over any such property for which the

                      24    Defendant is liable under 11 U.S.C. §522(i), 542, 543, 544, 550, and 553 of the Bankruptcy Code.

                      25              33.       Pursuant to 11 U.S.C. §502(d), to the extent Defendant files a claim against the

                      26    Debtor’s Estate, such claim should be disallowed.

                      27    ///

                      28    ///
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                   Case 6:22-ap-01049-SY                 Doc 1 Filed 06/14/22 Entered 06/14/22 13:12:53                 Desc
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                        1             WHEREFORE, Plaintiff prays for Judgment against Defendant as follows:

                        2             1.        That the Preferential Transfers identified herein are avoided as preferential transfers

                        3   under 11 U.S.C. § 547;

                        4             2.        That Plaintiff shall recover from Defendant or any immediate or mediate transferee

                        5   of Defendant the Preferential Transfers and any other avoided transfers discovered after the date

                        6   of this Complaint under 11 U.S.C. § 550;

                        7             3.        For the value of the Preferential Transfers, together with interest thereon at the legal

                        8   rate from the date of each of the Preferential Transfers;

                        9             4.        That the Preferential Transfers are avoided and shall be preserved for the benefit of

                      10    the Estate pursuant to 11 U.S.C. § 551;

                      11              5.        That if Defendant fails or refuses to turn over the Preferential Transfers and/or the

                      12    value of such Preferential Transfers to Plaintiff, any claim of Defendant shall be disallowed

                      13    pursuant to 11 U.S.C. § 502(d);

                      14              6.        For costs of suit incurred herein, including attorneys’ fees and costs as provided by

                      15    applicable case law, statute and/or agreement of the parties; and

                      16              7.        For such other and further relief as the Court may deem just and proper under the

                      17    circumstances of this case.
                                                                            SHULMAN BASTIAN FRIEDMAN & BUI LLP
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                      19
                            DATED: June 14, 2022                            By:          /s/ Melissa Davis Lowe
                      20                                                          Leonard M. Shulman
                                                                                  Melissa Davis Lowe
                      21                                                          Max Casal
                                                                                  Attorneys for Lexington National Insurance
                      22
                                                                                  Corporation, Assignee of Subchapter V Trustee
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      B1040 (FORM 1040) (12/15)

               ADVERSARY PROCEEDING COVER SHEET                                                  ADVERSARY PROCEEDING NUMBER
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 PLAINTIFFS                                                                         DEFENDANTS
LEXINGTON NATIONAL INSURANCE                                                       BLUEVINE, INC.,
CORPORATION, a Florida corporation                                                 a Delaware Corporation
 ATTORNEYS )LUP1DPH$GGUHVVDQG7HOHSKRQH1R                                   ATTORNEYS ,I.QRZQ 
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SAME [11 U.S.C. §§ 547, 550]; 2. PRESERVATION OF AVOIDED TRANSFERS [11 U.S.C. § 551];
3. DISALLOWANCE OF CLAIMS [11 U.S.C. § 502(d)]
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       FRBP 7001(1) – Recovery of Money/Property                                    FRBP 7001(6) – Dischargeability (continued)
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       FRBP 7001(2) – Validity, Priority or Extent of Lien
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       FRBP 7001(6) – Dischargeability
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
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POWER BAIL BONDS, INC.                       6:20-bk-14155-SY
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CENTRAL DISTRICT                                                       RIVERSIDE                         HONORABLE SCOTT H. YUN
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 /s/ Melissa Davis Lowe


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June 14, 2022
                                                                      Melissa Davis Lowe


                                                         INSTRUCTIONS

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